              Case 2:20-cv-01323-RAJ-JRC Document 132 Filed 08/16/21 Page 1 of 7




 1                                                                                                              Hon. Richard A. Jones
                                                                                                               Hon. J Richard Creatura
 2

 3

 4                                           UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF WASHINGTON
 5                                                    AT SEATTLE

 6   El PAPEL LLC, et al.,                                                    )        No. 2:20-cv-01323-RAJ-JRC
                                                                              )
 7                                                         Plaintiffs,        )        DEFENDANT CITY OF SEATTLE’S
                                                                              )        RESPONSE TO PLAINTIFFS’
                           vs.                                                )        SUPPLEMENTAL BRIEF RE CEDAR
 8
                                                                              )        POINT NURSERY
     JENNY A. DURKAN, et al.,                                                 )
 9
                                                                              )        NOTED ON MOTION CALENDAR:
                                                       Defendants.
10                                                                            )        Monday, August 16, 2021

11                                                                  CONTENTS

12   I.     Introduction ..............................................................................................................................1

     II.    Authority ..................................................................................................................................1
13
            A.     Yee controls Plaintiffs’ “physical invasion” takings claim. .............................................1
14
            B.     Cedar Point is distinguishable and leaves Yee intact. ......................................................3
15
     III. Conclusion ...............................................................................................................................5
16

17

18

19

20

21

22

23



      DEFENDANT CITY OF SEATTLE’S RESPONSE TO PLAINTIFFS’                                                                      Peter S. Holmes
      SUPPLEMENTAL BRIEF RE CEDAR POINT NURSERY - i                                                                            Seattle City Attorney
      El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                                                        701 Fifth Ave., Suite 2050
                                                                                                                               Seattle, WA 98104-7095
                                                                                                                               (206) 684-8200
              Case 2:20-cv-01323-RAJ-JRC Document 132 Filed 08/16/21 Page 2 of 7




 1                                       I.         INTRODUCTION

 2            In response to this Court’s Order for Supplemental Briefing (Dkt. # 127), much of

 3   Plaintiffs’ supplemental brief (Dkt. # 130) addresses the implications of Governor Inslee’s

 4   Proclamation 21-09 for Plaintiffs’ claims. Defendants City of Seattle and Jenny A. Durkan

 5   (collectively, “City”) defer to Defendant Robert Ferguson to address that issue on behalf of the

 6   State.

 7            The City responds only to Plaintiffs’ claims regarding the import of Cedar Point Nursery

 8   v. Hassid, 141 S. Ct. 2063 (2021), for Plaintiffs’ “physical invasion” takings claim. See Dkt.

 9   # 130 at pp. 9–13. Yee v. City of Escondido, 503 U.S. 519 (1992), controls and disposes of that

10   claim. Yee held that, where a landlord invites a tenant onto their property, a law regulating the

11   terms under which that tenant may remain effects no “physical invasion” taking. Cedar Point is

12   distinguishable because it dealt with a law that forced a property owner to allow others onto their

13   property in the first instance. Cedar Point cited Yee favorably and recognized, consistent with

14   Yee, that a limitation on how a business treats those already invited onto their property is beyond

15   the reach of the “physical invasion” takings test.

16                                            II.    AUTHORITY

17            A.     Yee controls Plaintiffs’ “physical invasion” takings claim.

              Courts reject claims that regulating the landlord-tenant relationship amounts to a
18
     “physical invasion” taking: “This Court has consistently affirmed that States have broad power
19
     to regulate housing conditions in general and the landlord-tenant relationship in particular
20
     without paying compensation for all economic injuries that such regulation entails.” Loretto v.
21
     Teleprompter Manhattan CATV Corp., 458 U.S. 419, 440 (1982). Accord Yee, 503 U.S. at 528–
22
     29; FCC v. Florida Power Corp., 480 U.S. 245, 252 (1987); MHC Fin. Ltd. P’ship v. City of San
23



      DEFENDANT CITY OF SEATTLE’S RESPONSE TO PLAINTIFFS’                               Peter S. Holmes
      SUPPLEMENTAL BRIEF RE CEDAR POINT NURSERY - 1                                     Seattle City Attorney
      El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                 701 Fifth Ave., Suite 2050
                                                                                        Seattle, WA 98104-7095
                                                                                        (206) 684-8200
             Case 2:20-cv-01323-RAJ-JRC Document 132 Filed 08/16/21 Page 3 of 7




 1   Rafael, 714 F.3d 1118, 1126–27 (9th Cir. 2013). This is especially true of a claimed per se taking

 2   from a regulation allegedly denying a landlord the discretion to evict individuals who pay on

 3   terms the landlord disfavors. Loretto—the font of the “physical invasion” test—predicted it

 4   would have no dire consequence for tenant-protection laws. Loretto, 458 U.S. at 440.

 5            Yee proved Loretto correct. Yee rejected a “physical invasion” claim from mobile home

 6   park landlords who challenged a law limiting their ability to evict tenants who did not pay the

 7   higher rents landlords demanded. Yee, 503 U.S. at 526–27. Yee upheld the law because, although

 8   a landowner may exclude all tenants by ceasing to be a landlord,1 a landlord has no right to eject

 9   a tenant who remains under government-imposed terms the landlord disfavors:

10            Put bluntly, no government has required any physical invasion of petitioners’
              property. Petitioners’ tenants were invited by petitioners, not forced upon them by
11            the government. While the “right to exclude” is doubtless, as petitioners assert,
              “one of the most essential sticks in the bundle of rights that are commonly
12            characterized as property,” we do not find that right to have been taken . . . .

13                                                        .   .    .

14            Because they voluntarily open their property to occupation by others, petitioners
              cannot assert a per se right to compensation based on their inability to exclude
15            particular individuals.

     Id. at 528, 531 (citations omitted).
16
              Yee controls Plaintiffs’ “physical invasion” takings claim. Like the Yee landlords,
17
     Plaintiffs do not allege that the Ordinances forced them into the landlord business. Having
18
     voluntarily invited tenants onto their properties, Plaintiffs can claim no physical invasion when
19
     the government adjusts the terms under which tenants may remain. And like the Yee landlords,
20
     who claimed a right to evict tenants who used a law to refuse to pay higher rent, Plaintiffs assert
21

22
     1
      A different rule might govern a law compelling a landlord to “refrain in perpetuity from terminating a tenancy.”
23   Yee 503 U.S. at 528. Such a rule would not apply to the City’s temporary measures.



         DEFENDANT CITY OF SEATTLE’S RESPONSE TO PLAINTIFFS’                                         Peter S. Holmes
         SUPPLEMENTAL BRIEF RE CEDAR POINT NURSERY - 2                                               Seattle City Attorney
         El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                           701 Fifth Ave., Suite 2050
                                                                                                     Seattle, WA 98104-7095
                                                                                                     (206) 684-8200
             Case 2:20-cv-01323-RAJ-JRC Document 132 Filed 08/16/21 Page 4 of 7




 1   a right to evict tenants who use a law to pay later or under a repayment plan. Because that

 2   demand finds no purchase in “physical invasion” takings law, Plaintiffs’ takings claim fails.

 3            B.        Cedar Point is distinguishable and leaves Yee intact.

 4            Because Yee is premised on a landlord having already invited tenants onto the property,

 5   Plaintiffs cannot benefit from decisions addressing government-imposed, physical easements

 6   forcing a landowner to suffer an invasion in the first instance. See, e.g., Knick v. Township of

 7   Scott, 139 S. Ct. 2162, 2168 (2019) (public access to cemeteries); Loretto, 458 U.S. at 423–24

 8   (television cable conduit easement); Kaiser Aetna v. United States, 444 U.S. 164, 165–66 (1979)

 9   (public navigation easement); Nollan v. California Coastal Comm’n, 483 U.S. 825, 828 (1987)

10   (beachfront public access easement).

11            The same is true of Cedar Point, which addressed a law forcing certain landowners

12   (agricultural employers) to suffer an intermittent “invasion” by people they never invited onto

13   their land (union organizers). Cedar Point, 141 S. Ct. at 2069. The only new issue in Cedar Point

14   was whether the law created any less of a physical easement for per se “physical invasion”

15   takings purposes when the right to invade did not span every hour of every day of the year. Id.

16   at 2074. Cedar Point ruled that an intermittent physical easement effects a per se taking. Id.

17   at 2074–76.2

18            Cedar Point leaves Yee untouched. Cedar Point did not overrule Yee; it cited Yee

19   favorably for general takings principles. Id. at 2072. And responding to a concern raised in

20

21   2
       Plaintiffs assert that this holding is “contrary to the City and State’s consistent position that their eviction bans are
     only temporary in nature.” Dkt. # 130 at p. 10. That assertion rests on a faulty premise because, even before Cedar
     Point, the City explained that it “takes no issue with the proposition that a ‘physical invasion’ taking can result from
22   the government allowing a third party to invade even a minor portion of private property, even if only temporarily.”
     Dkt. # 120 at p. 17 (City’s Reply re Cross-Mots. for Sum Jud.). The City’s point then, as now, is that under Yee no
23   City measure causes an invasion, temporary or permanent. Id.



         DEFENDANT CITY OF SEATTLE’S RESPONSE TO PLAINTIFFS’                                               Peter S. Holmes
         SUPPLEMENTAL BRIEF RE CEDAR POINT NURSERY - 3                                                     Seattle City Attorney
         El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                                 701 Fifth Ave., Suite 2050
                                                                                                           Seattle, WA 98104-7095
                                                                                                           (206) 684-8200
           Case 2:20-cv-01323-RAJ-JRC Document 132 Filed 08/16/21 Page 5 of 7




 1   dissent, the Cedar Point majority distinguished laws that regulate how landowners must treat

 2   those they have already invited onto their land: “Limitations on how a business generally open to

 3   the public may treat individuals on the premises are readily distinguishable from regulations

 4   granting a right to invade property closed to the public.” Id. at 2077. As Yee instructs, the same

 5   principle applies to rental property: limitations on how a landlord must treat a tenant on the

 6   premises differ from regulations—like the one in Cedar Point—granting a right to invade

 7   property otherwise closed to the public.

 8           Following that logic, the only federal court to consider Cedar Point when raised against a

 9   pandemic-related eviction limitation found that Yee controls: “Unlike an invasion of property by

10   an uninvited guest, the landlords here have solicited tenants to rent their properties, and the

11   Ordinance simply regulates landlords’ relationship with tenants.” Southern Cal. Rental Housing

12   Ass’n v. County of San Diego Bd. of Supervisors, No. 3:21cv912-L-DEB, 2021 WL 3171919 at

13   *8 (S.D. Cal. July 26, 2021) (citing Yee, 503 U.S. at 531). Cedar Point, the court ruled, was

14   irrelevant: “Cedar Point is distinguishable from the facts before this Court. Unlike the

15   landowners in Cedar Point who were forced to allow unionizing activity on their property for a

16   specified amount of time, the landowners here invited the renters to inhabit their rental units,

17   make them their homes, and abide by the rental agreements. No ‘physical invasion’ has occurred

18   here.” Id.

19           Plaintiffs overlook that distinction. Instead, they cast three other points the majority made

20   in response to the dissent as the sole “exceptions” to the “physical invasion” takings rule, and

21   then declare victory because the City invokes none of them. Dkt. # 130 at pp. 10–13 (citing

22   Cedar Point, 141 S. Ct. at 2078–79 (distinguishing “physical invasion” takings from trespass,

23   longstanding background restrictions on property rights, and access rights ceded as a condition of



      DEFENDANT CITY OF SEATTLE’S RESPONSE TO PLAINTIFFS’                                Peter S. Holmes
      SUPPLEMENTAL BRIEF RE CEDAR POINT NURSERY - 4                                      Seattle City Attorney
      El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                  701 Fifth Ave., Suite 2050
                                                                                         Seattle, WA 98104-7095
                                                                                         (206) 684-8200
           Case 2:20-cv-01323-RAJ-JRC Document 132 Filed 08/16/21 Page 6 of 7




 1   receiving benefits)). Those are not exceptions to a rule, let alone the only exceptions; they are

 2   examples of laws that lie beyond the limited reach of the “physical invasion” takings test.

 3   Plaintiffs overlook the example key to this case: “Limitations on how a business generally open

 4   to the public may treat individuals on the premises . . . .” Cedar Point, 141 S. Ct. at 2077. That

 5   example embraces Yee’s holding: where a landlord invites a tenant onto their property, a law

 6   regulating the terms under which that tenant may remain effects no “physical invasion” taking.

 7          Before the Supreme Court issued Cedar Point, at least four other federal courts recently

 8   followed Yee to reject “physical invasion” takings claims against a variety of pandemic-related,

 9   rent-delaying tenant protections. E.g, Heights Apts., LLC v. Walz, 510 F. Supp. 3d 789, 812 (D.

10   Minn. 2020), appeal docketed, No. 21-1278 (8th Cir. Feb. 5, 2021); Baptiste v. Kennealy, 490

11   F. Supp. 3d 353, 387–88 (D. Mass. 2020); Auracle Homes, LLC v. Lamont, 478 F. Supp. 3d. 199,

12   220–21 (D. Conn. 2020); Elmsford Apt. Associates, LLC v. Cuomo, 469 F. Supp. 3d. 148, 162–

13   64 (S.D.N.Y. 2020), appeal dismissed sub nom. 36 Apt. Associates, LLC v. Cuomo, 2021 WL

14   3009153 (2nd Cir. July 16, 2021) (summary order). Plaintiffs offer no counterexample. Cedar

15   Point does not suggest one will emerge.

16                                        III.    CONCLUSION

17          Yee controls and disposes of Plaintiffs’ “physical invasion” takings claim because

18   Plaintiffs invited tenants onto their property and the City’s measures regulate the terms under

19   which those tenants may remain. Cedar Point—which addressed a law that forced a property

20   owner to allow others onto their property in the first instance—is distinguishable and left Yee

21

22

23



      DEFENDANT CITY OF SEATTLE’S RESPONSE TO PLAINTIFFS’                               Peter S. Holmes
      SUPPLEMENTAL BRIEF RE CEDAR POINT NURSERY - 5                                     Seattle City Attorney
      El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                 701 Fifth Ave., Suite 2050
                                                                                        Seattle, WA 98104-7095
                                                                                        (206) 684-8200
           Case 2:20-cv-01323-RAJ-JRC Document 132 Filed 08/16/21 Page 7 of 7




 1   intact. Because Plaintiffs’ “physical invasion” takings claim fails, the City respectfully asks this

 2   Court to grant judgment to the City on that claim.

 3          Respectfully submitted August 16, 2021.

 4
                                                   PETER S. HOLMES
 5                                                 Seattle City Attorney

 6                                                 By:      /s/ Jeffrey S. Weber, WSBA #24496
                                                            /s/ Roger D. Wynne, WSBA #23399
 7                                                          /s/ Derrick De Vera, WSBA #49954
                                                            /s/ Erica R. Franklin, WSBA #43477
 8                                                 Seattle City Attorney’s Office
                                                   701 Fifth Ave., Suite 2050
 9                                                 Seattle, WA 98104-7095
                                                   Ph: (206) 684-8200
10                                                 jeff.weber@seattle.gov
                                                   roger.wynne@seattle.gov
11                                                 erica.franklin@seattle.gov
                                                   derrick.devera@seattle.gov
12                                                 Assistant City Attorneys for Defendants City of
                                                   Seattle and Jenny A. Durkan, in her official capacity
13                                                 as the Mayor of the City of Seattle

14

15

16

17

18

19

20

21

22

23



      DEFENDANT CITY OF SEATTLE’S RESPONSE TO PLAINTIFFS’                                Peter S. Holmes
      SUPPLEMENTAL BRIEF RE CEDAR POINT NURSERY - 6                                      Seattle City Attorney
      El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                  701 Fifth Ave., Suite 2050
                                                                                         Seattle, WA 98104-7095
                                                                                         (206) 684-8200
